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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7       CRISTA RAMOS, et al.,                             Case No. 18-cv-01554-EMC
                                   8                      Plaintiffs,
                                                                                             ORDER RE PLAINTIFFS’ MOTION
                                   9                v.                                       TO RELATE
                                  10       KIRSTJEN NIELSEN, et al.,
                                                                                             Docket No. 249
                                  11                      Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14             Plaintiffs have moved to relate National TPS Alliance v. Noem, No. C-25-1766, to the

                                  15   instant case. The Court hereby orders Defendants in this case and/or National TPS Alliance to file

                                  16   a response to Plaintiffs’ motion to relate by Tuesday, February 25, 2025.1 Plaintiffs are ordered

                                  17   to serve a copy of this order on Defendants in both cases by Friday, February 21, 2025, and shall

                                  18   file a declaration by the same date confirming that service was effected. Because of the short

                                  19   deadline, the Court also orders Plaintiffs to contact Defendants by phone and/or email and to

                                  20   notify them of the contents of this order.

                                  21             IT IS SO ORDERED.

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                                  23   Dated: February 20, 2025

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                                  25                                                     ______________________________________
                                                                                          EDWARD M. CHEN
                                  26                                                      United States District Judge
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                                           Defendants in both cases are the federal government and/or officials.
